                       Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 1 of 10
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                          Middle District
                                                      __________ DistrictofofAlabama
                                                                              __________
                                                                          )
              UNITED STATES OF AMERICA                                    )          JUDGMENT IN A CRIMINAL CASE
                         v.                                               )
                       JUSTIN ALDON                                       )
                                                                          )          Case Number: 2:17cr477-01-MHT
                   aka BERKLYN OLAMIDE
                                                                          )          USM Number: 73191-019
                                                                          )
                                                                          )           Stephen P. Ganter
                                                                          )          Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                      One of the Indictment on July 28, 2020
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended              Count
18 USC 472 and 2                   Uttering Counterfeit Obligations and Aiding and Abetting                  8/9/2017               1




       The defendant is sentenced as provided in pages 2 through                10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s)
G                Two of the Indictment                   ✔ is
                                                         G        G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                            9/10/2020
                                                                         Date of Imposition of Judgment


                                                                                                      /s/ Myron H. Thompson
                                                                         Signature of Judge




                                                                          MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                                                            9/11/2020
                                                                         Date
                     Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 2 of 10
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      2       of   10
 DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
 CASE NUMBER: 2:17cr477-01-MHT

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 Time Served (132 Days).




      G The court makes the following recommendations to the Bureau of Prisons:




      ✔ The defendant is remanded to the custody of the United States Marshal.
      G

      G The defendant shall surrender to the United States Marshal for this district:
          G at                                   G a.m.      G p.m.         on                                              .

          G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                            .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
                       Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 3 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3     of       10
DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
CASE NUMBER: 2:17cr477-01-MHT
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 2 Years




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    G✔ You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                               Judgment—Page         4        of        10
DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
CASE NUMBER: 2:17cr477-01-MHT

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                   Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 5 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                             Judgment—Page   5     of     10
DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
CASE NUMBER: 2:17cr477-01-MHT

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall have a full drug assessment, which should include an assessment for medication-assisted
 treatment (MAT), to be arranged by the Federal Defender's Office. The court will thereafter decide what additional
 conditions, if any, shall be placed on the defendant. The defendant shall contribute to the cost of any treatment based on
 his ability to pay and the availability of third-party payments. (The new assessment by the Federal Defender's Office shall
 be done within 35 days of the defendant's release from custody, either from Jefferson County or otherwise.)

 2. The defendant shall provide the probation officer any requested financial information.

 3. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

 4. The defendant shall submit to a search of his person, office, residence and vehicle pursuant to the search policy of this
 court.
                       Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 6 of 10
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page       6    of        10
 DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
 CASE NUMBER: 2:17cr477-01-MHT
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment             5HVWLWXWLRQ        )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 100.00                   $ 3,300.00             $                      $                           $


 G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 ✔ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 G
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                  Total Loss***              Restitution Ordered         Priority or Percentage
  Dollar General,17805 Montgomery Hwy                                                                    $200.00

  Highland Home, AL 36041
  Dollar General, 1119 Gilmer Ave.                                                                       $100.00

  Tallassee, AL 36078

  Family Dollar, 403 Gilmer Ave.                                                                         $100.00

  Tallsassee, AL 36078
  Tallassee Super Foods, 462 Gilmer Ave.                                                                 $100.00

  Tallassee, AL 36078
  Dollar General, 2361 Notasulga Rd.                                                                     $100.00
  Tallassee, AL 36078


 TOTALS                                $                         0.00            $               3,300.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ✔
 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ✔ the interest requirement is waived for the
       G                                                        G fine    ✔ restitution.
                                                                          G
       G the interest requirement for the            G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                   Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 7 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5B — Criminal Monetary Penalties
                                                                                                   Judgment—Page      7     of      10
DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
CASE NUMBER: 2:17cr477-01-MHT

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                      Total Loss*            Restitution Ordered             Percentage
 Dollar Tree Stores, 460 Gilmer Ave.                                                                    $100.00
 Tallassee, AL 36078

 Dollar General, 3160 Rifle Range Rd.                                                                   $100.00
 Wetumpka, AL 36093

 Winn Dixie, 5326 Hwy 231 South                                                                         $100.00
 Wetumpka, AL 36092

 Walgreens, 795 Wilson Street                                                                           $100.00

 Wetumpka, AL 36092
 Dollar General, 57 Chapel Road                                                                         $200.00

 Wetumpka, AL 36092

 Dollar General, 4906 US Hwy 231                                                                        $100.00
 Wetumpka, AL 36092

 Dollar General, 67 Highway 14                                                                          $100.00
 Elmore, AL 36025

 Dollar General, 1829 Kowaliga Road                                                                     $100.00
 Eclectric, AL 36024

 Fred's 738 Kowaliga Road                                                                               $200.00

 Eclectric, AL 36024
 Dollar General, 694 Golson Road                                                                        $100.00

 Prattville, AL 36067

 Winn Dixie, 7946 Vaughn Road                                                                           $100.00
 Montgomery, AL 36116

 Walmart Neighborhood Market, 8035 Vaughn Rd.                                                           $100.00
 Montgomery, AL 36116



 **see additional restitutional payees page 10**                                                      $1,300.00


      * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                       Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 8 of 10
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6 — Schedule of Payments

                                                                                                                Judgment — Page      8      of      10
 DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
 CASE NUMBER: 2:17cr477-01-MHT

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ✔ Lump sum payment of $ 3,400.00
      G                                                          due immediately, balance due

            G     not later than                                     , or
            ✔
            G     in accordance with      G C,       G D,       G E, or         ✔ F below; or
                                                                                G
 B    G Payment to begin immediately (may be combined with                    G C,        G D, or       G F below); or
 C    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
             All criminal monetary payments shall be paid to the Clerk, United States District Court, One Church Street,
             Montgomery, AL 36104. Any remaining balance of restitution shall be paid at the rate of not less than of $100 per
             month.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G
 ✔ Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                      Joint and Several                Corresponding Payee,
      (including defendant number)                          Total Amount                         Amount                          if appropriate
      Justin Aldon aka Berklyn Olamide                                                                                   see payee pages
                                                             3,300.00                   3,300.00
      2:17cr477-01-MHT

 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
                   Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 9 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6A — Schedule of Payments
                                                                                               Judgment—Page   9   of      10
DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
CASE NUMBER: 2:17cr477-01-MHT

       ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                           Joint and Several            Corresponding Payee,
(including defendant number)                             Total Amount          Amount                      if appropriate

Shahal Lewis, 2:17cr447-02-MHT                                                                       see payee pages
                                                               $3,300.00              $3,300.00
                  Case 2:17-cr-00477-MHT-SMD Document 87 Filed 09/11/20 Page 10 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6B — Schedule of Payments
                                                                            Judgment—Page   10   of   10
DEFENDANT: JUSTIN ALDON aka BERKLYN OLAMIDE
CASE NUMBER: 2:17cr477-01-MHT

                                            ADDITIONAL 5(67,787,213$<((6
   CVS Pharmacy                             $100.00
   550 Ray Thorington Road
   Montgomery, AL 36116

   Walgreens                               $100.00
   3892 Atlanta Highway
   Montgomery, AL 36109

   Dollar General                          $100.00
   1030 Perry Hill Road
   Montgomery, AL 36109

   Rite Aid                                $100.00
   7932 Vaughn Road
   Montgomery, AL 36116

   Winn Dixie                              $100.00
   3881 Atlanta Highway
   Montgomery, AL 36109

   Dollar General                          $100.00
   8990 Atlanta Highway
   Montgomery, AL 36117

   Dollar General                         $100.00
   7700 Wares Ferry Road
   Montgomery, AL 36117

   Dollar General                         $200.00
   9711 Vaughn Road
   Pike Road, AL 36064

   Dollar General                          $100.00
   3950 US Highway 31
   Verbena, AL 36091

   Dollar General                         $100.00
   1696 7th Street South
   Clanton, AL 35045

   Fred's                                 $100.00
   4559 Hwy 25
   Montevallo, AL 35115

   Pic-N-Sav                             $100.00
   4563 Hwy 25
   Montevallo, AL 35115
